10/24/23, 12:15 PMCase 4:23-cv-04065                 Document2024
                                                               1-15
                                                                  OfficialFiled  onPride
                                                                           Houston   10/25/23
                                                                                         CelebrationinRegistration
                                                                                                       TXSD Page 1 of 4




                               HOUSTON PRIDE FESTIVAL AND HOUSTON PRIDE PARADE REGISTRATION



        The 46th annual Houston Pride Celebration will take place downtown at Houston City Hall, 901 Bagby St, on Saturday, June

        29, 2024, in Houston, TX. This has been Houston's Premiere Event of the Pride Season for over 40+ years.



           1. Create an account.
           2. Reserve one or multiple Celebration Festival and/or Parade Spot(s).
           3. Sign your Celebration Agreement
           4. Submit important information and supporting documentation.
           5. Pay your applicable registration fees.




                                                                                                                    Exhibit 14
https://pridehouston.regfox.com/2024-official-houston-pride-celebration-registration                                               1/5
10/24/23, 12:15 PMCase 4:23-cv-04065                 Document2024
                                                               1-15
                                                                  OfficialFiled  onPride
                                                                           Houston   10/25/23
                                                                                         CelebrationinRegistration
                                                                                                       TXSD Page 2 of 4




                                  Required Documents
               Signed Celebration Agreement (Download & sign or request DocuSign at
               celebration@pridehouston.org. Required for everyone.
               Proof of Registration Class. (Proof of mission or purpose via website, social media profile, charter,
               article of incorporations, certificate of formation, bylaws, federal tax-exempt certificate, approved
               state tax-exempt form, etc.) Required only for local businesses.
               City of Houston Health Certificate for food and beverage handlers. Required for anyone selling, giving
               away and/or handling foods and beverages that will be distributed during the festival.
               Photo of Driver License - Front and Back. Required for drivers of vehicles in the Parade. Present at
               check-in on Event Day.
               Automobile Insurance for the individual identified by the Driver License. Required for drivers of
               vehicles in the Parade. Present at check-in on Event Day.
               General Commercial or Personal Liability Insurance in amounts not less than $500,000 USD per claim
               and $1,000,000 USD aggregate adding Pride Houston, Inc. and the City of Houston as additional
               insured(s). Required for organizations & individuals "not" purchasing celebration insurance through the
               registration system.

        Want To Become A Sponsor of the 2024 Houston Pride Celebration? Sponsorship inquiries please email
        sponsorinquiry@pridehouston.org


        Refund Policy




                                                                                                                    Exhibit 14
https://pridehouston.regfox.com/2024-official-houston-pride-celebration-registration                                         2/5
10/24/23, 12:13 PMCase 4:23-cv-04065            Document 1-15
                                                            2023 Filed  on –10/25/23
                                                                 Celebration             in365®
                                                                             Pride Houston  TXSD Page 3 of 4




                                                                                                               

  (/)




                   2023 Houston Pride
                         Parade




                                                                                                         Exhibit 14
https://pridehouston365.org/2023-celebration/                                                                      1/8
10/24/23, 12:13 PMCase 4:23-cv-04065            Document 1-15
                                                            2023 Filed  on –10/25/23
                                                                 Celebration             in365®
                                                                             Pride Houston  TXSD Page 4 of 4




                                                           Parade Map
                               (https://pridehouston365.org/wp-content/uploads/2023/10/Map.png)




                                        Our Sponsors & Partners




                                                                                                         Exhibit 14
https://pridehouston365.org/2023-celebration/                                                                     2/8
